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13
     UNITED STATES OF AMERICA
14
                             UNITED STATES DISTRICT COURT
15                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
16   UNITED STATES OF AMERICA                  2:24-CR-000456-TJH
17                    v.                       STIPULATION AND PROPOSED
                                               PROTECTIVE ORDER
18   ANDREW LEFT,
19              Defendant.
20

21         The United States of America, by and through counsel of record,
22   and Defendant Andrew Left, by and through his counsel of record,
23   hereby stipulate that:
24      1. The evidence in this case includes sensitive information
25         relating to the United States’ case-in-chief and the
26         investigative activities of law enforcement, including
27         sensitive information pertaining to individual and corporate
28         bank and brokerage accounts (collectively “Investigative
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 1         Material”). Such Investigative Material includes but is not

 2         limited to investigative reports and memoranda of interviews;

 3         Jencks Act witness statements; Rule 16 discovery, including

 4         personal financial records; potential Brady/Giglio

 5         information; and any reciprocal discovery produced by the

 6         defendant. The evidence in this case also includes personal

 7         identification information for others, including but not

 8         limited to names, addresses, dates of birth, social security

 9         numbers, and bank/brokerage account numbers (collectively

10         “Personal Information”).

11      2. It is anticipated that discovery in this case will include
12         hundreds of thousands of pages of records from a variety of
13         sources, which will contain the types of information described
14         above. It would be contrary to the interests of justice to
15         indiscriminately disclose such information to the general
16         public. Moreover, the information described in paragraph 1
17         above may be found throughout the discovery in this case and it
18         would be unduly burdensome for the government to attempt to
19         segregate this information or to redact, in all instances, the
20         Personal Information found therein.
21      3. Accordingly, in order to protect the confidentiality of such
22         information as is contained in the discovery, the parties
23         stipulate, and request the Court to order, that only defense
24         counsel, defense counsel’s agents, and the defendant may
25         review the discovery provided by the government in preparation
26         for trial, and that defense counsel, defense counsel’s agents
27         and the defendant may only use the discovery and the
28         information provided therein for the specific purpose of
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 1         preparing or presenting a defense in this matter, and for no

 2         other purpose.

 3      4. The parties further stipulate, and request the Court to order,
 4         that only defense counsel and defense counsel’s agents may
 5         make copies of any discovery provided by the government in
 6         this case; and that the defendant may make copies for his own
 7         use only to the extent that such discovery has been provided
 8         to him by defense counsel or defense counsel’s agents. Neither
 9         defense counsel, defense counsel’s agents, nor the defendant
10         may release any such copies to any third party, except that
11         defense counsel and defense counsel’s agents may release to
12         potential witnesses and their counsel for the specific purpose
13         of preparing a defense in this matter.
14      5. The parties further stipulate, and request the Court to make
15         its Order applicable to all of the discovery produced by the
16         government in this case, including any discovery that has
17         already been produced as well as any discovery produced after
18         entry of its Order.
19      6. The defendant’s attorneys shall inform any person to whom
20         disclosure may be made pursuant to this order of the
21         existence and terms of the Court’s protective order.
22      7. The requested restrictions shall not restrict the use or
23         introduction as evidence of discovery documents containing
24         personal identifying information during the trial of this
25         matter.
26      8. At the conclusion of this matter, defense counsel will collect
27         and destroy any and all copies of discovery produced by the
28         government and used by the defense for the purpose of
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 1         preparing or presenting a defense in this matter, except a

 2         copy set as necessary to maintain in defense counsel’s case

 3         file.

 4      9. By signing this stipulation, counsel for the defendant

 5         represents that he has discussed the contents of this

 6         stipulation and proposed order with Defendant Left, that the

 7         defendant has no objection to this stipulation and the relief

 8         requested in the proposed order, and that the defendant

 9         agrees to abide by the terms of the proposed order.

10

11         IT IS SO STIPULATED.

12         DATE:   August 19, 2024

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                                        Respectfully submitted,
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